Case 1:18-cv-00042-KJM Document 105 Filed 03/01/19 Page 1 of 3     PageID #: 1431




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  OHANA MILITARY COMMUNITIES, LLC and
  FOREST CITY RESIDENTIAL MANAGEMENT, LLC

                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI‘I

 OHANA MILITARY COMMUNITIES,                CIVIL NO. 18-00042 KJM
 LLC and FOREST CITY RESIDENTIAL
 MANAGEMENT, LLC,                           CERTIFICATE OF SERVICE

                   Plaintiffs,              (RE: PLAINTIFF OHANA
                                            MILITARY COMMUNITIES, LLC’S
       vs.
                                            OBJECTIONS TO CARA
                                            BARBER’S NOTICE OF
 CARA BARBER,                               DEPOSITION TO PLAINTIFF
                   Defendant.               OHANA MILITARY
                                            COMMUNITIES, LLC PURSUANT
                                            TO FED. R. CIV. P. 30(B)(6) RE:
                                            RULE 26 DISCLOSURES &
                                            RECORD RETENTION
                                            PRACTICES DATED DECEMBER
                                            17, 2018)

                                            Trial: June 12, 2019
Case 1:18-cv-00042-KJM Document 105 Filed 03/01/19 Page 2 of 3   PageID #: 1432




                           CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a copy of PLAINTIFFS OHANA

 MILITARY COMMUNITIES, LLC’S OBJECTIONS TO CARA BARBER’S

 NOTICE OF DEPOSITION TO PLAINTIFF OHANA MILITARY COMMUNITIES,

 LLC PURSUANT TO FED. R. CIV. P. 30(B)(6) RE: RULE 26 DISCLOSURES &

 RECORD RETENTION PRACTICES DATED DECEMBER 17, 2018 was served

 on this date in the following manner:

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Case 1:18-cv-00042-KJM Document 105 Filed 03/01/19 Page 3 of 3   PageID #: 1433




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            DATED: Honolulu, Hawai‘i, March 1, 2019.


                                  /s/ Randall C. Whattoff
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